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NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 ESTATE OF MICHAEL P MAZZA,
 DONALD MAZZA, and DARA MAZZA,

                     Plaintiffs,                              Civ. No. 18-10028

          v.                                                  OPINION

 NATIONAL COLLEGIATE ATHLETIC
 ASSOCIATION (NCAA), MOUNT IDA
 COLLEGE, MUTUAL OF OMAHA
 INSURANCE, CATLIN INSURANCE
 COMPANY, ROBERT MCCLOSKEY
 INSURANCE, BMI BENEFITS, LLC,
 ABC CORPS 1–10, and JOHN DOES 1–
 10,

                     Defendants.

THOMPSON, U.S.D.J.

                                      INTRODUCTION

       This matter comes before the Court upon the Motion to Remand by Defendant National

Collegiate Athletic Association (“NCCA”). (ECF Nos. 9–10.) No party has timely filed

opposition, so the Court considers the Motion unopposed. See L. Civ. R. 7.1(d)(2). The Court has

decided this matter based upon the written submission of Defendant NCAA and without oral

argument pursuant to Local Civil Rule 78.1(b). For the reasons stated herein, the Motion to

Remand is granted.

                                       BACKGROUND

       This case arises from the death of Michael Mazza, which was allegedly caused by a

conditioning workout in which he participated as part of the Mount Ida College football team.

(See generally Am. Compl., ECF No. 1-2.) Plaintiff originally filed this action in February 2018

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in the Superior Court of New Jersey, Law Division, Monmouth County. (Notice Rmv’l ¶ 1, ECF

No. 1.) On June 1, 2018, Defendant Mount Ida College removed to this court. (See generally id.)

On July 2, 2018, Defendant NCAA moved to remand the case back to the Superior Court of New

Jersey. (ECF Nos. 9–10.) This Motion is presently before the Court.

                                      LEGAL STANDARD

       A defendant may remove a civil action filed in state court to the federal court where the

action might originally have been brought. 28 U.S.C. § 1441(a). However, the federal court to

which the action is removed must have subject matter jurisdiction. Id. Federal district courts have

subject matter jurisdiction on the basis of diversity when the action arises between citizens of

different states, and the amount in controversy exceeds $75,000. 28 U.S.C. § 1332(a)(1). To

establish complete diversity of citizenship between the parties, each plaintiff must be a citizen of

a different state from each defendant. Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365, 373

(1978). “If at any time before final judgment it appears that the district court lacks subject matter

jurisdiction, the case shall be remanded” to state court. 28 U.S.C. § 1447(c).

                                          DISCUSSION

       Subject matter jurisdiction in this case is premised on diversity. (Notice Rmv’l ¶ 5; see

also Am. Compl. ¶¶ 26–46 (asserting only state law claims).) Plaintiffs are citizens of New

Jersey. (Notice Rmv’l ¶ 6.) Defendant NCAA is an unincorporated association. (Mot. Remand at

3, ECF No. 10.) For the purposes of subject matter jurisdiction, an unincorporated association is

deemed a citizen of every state where its members are citizens. Carden v. Arkoma Assocs., 494

U.S. 185, 195–96 (1990); Charles Alan Wright et al., 13F Federal Practice and Procedure

Jurisdiction § 3630.1 (3d ed., Apr. 2018 update). NCAA has many members in New Jersey, see

NCAA Member Institutions, http://www.ncaa.org/about/resources/research/ncaa-member-



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institutions (last visited Aug. 29, 2018), making NCAA a citizen of New Jersey, among other

states. Because Plaintiffs are not diverse from Defendant NCAA, this court lacks subject matter

jurisdiction. See Owen, 437 U.S. at 373. The case must therefore be remanded to the Superior

Court of New Jersey.

                                        CONCLUSION

        For the foregoing reasons, Plaintiff’s Motion is granted, and the case remanded. An

appropriate Order will follow.


Date:    9/4/2018                                            /s/ Anne E. Thompson      .
                                                            ANNE E. THOMPSON, U.S.D.J.




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